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 4                              UNITED STATES DISTRICT COURT
 5                             EASTERN DISTRICT OF CALIFORNIA
 6                                             ********
 7   UNITED STATES OF AMERICA, )                  CASE NO.: CR-F-01-5415 AWI
                                   )
 8         Plaintiff,              )              ORDER ON DEFENDANT AUGUST
                                   )              GHILARDUCCI’S APPLICATION FOR
 9                                 )              EXONERATION OF PROPERTY BOND
     v.                            )              AND RECONVEYANCE OF REAL
10                                 )              PROPERTY
     AUGUST C. GHILARDUCCI,        )
11                                 )
           Defendant.              )
12   ______________________________)
13
             On August 9, 2005, Defendant August Ghilarducci filed the following Application for
14
     Exoneration of Property Bond and Reconveyance of Real Property:
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                    The Defendant, August C. Ghilarducci, by and through his attorney-of-record, Harry
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     M. Drandell, hereby requests an Order exonerating the Property Bond posted in this action and for
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     a deed of reconveyance for real property posted as the property bond.
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                    On or about January 7, 2003, the Honorable Dennis L. Beck, Magistrate Judge,
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     granted August Ghilarducci’s pretrial release from custody on a $500,000.00 bond. The $500,000.00
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     bond consisted of (1) a $250,000.00 Property Bond posted by Mr. Ghilarducci’s sister, Mrs. Susan
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     Huiner, and their parents, August F. Ghilarducci, Sr., and Maria Ghilarducci, and (2) a $250,000.00
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     Surety Bond posted by August F. Ghilarducci, Sr., which was secured with three annuities in his
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     name.
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                    On or about April 11, 2003, the conditions of Mr. Ghilarducci’s pretrial release were
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     modified, to wit: the $250,000.00 Surety Bond posted by August F. Ghilarducci, Sr., was exonerated
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     by an Order issued from the Honorable Anthony W. Ishii, District Court Judge. Consequently, Mr.
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 1   Ghilarducci’s pretrial release then was secured only by the real property owned and posted by Susan
 2   Huiner and her parents with a deed of trust and promissory note for $250,000.00 placed in the Court
 3   Clerk’s possession.
 4                  On April 5, 2005, after a trial by jury, Mr. Ghilarducci was convicted of Count 4,
 5   Count 5 and Count 9 of the Indictment; and, on June 20, 2005, the court sentenced Mr. Ghilarducci
 6   to the custody of the United States Bureau of Prisons for a total term of 33 months as to counts 4,
 7   5 and 9 of the Indictment.
 8                  Since Mr. Ghilarducci has been sentenced and is in the custody of the Federal Bureau
 9   of Prisons, he respectfully requests that the Property Bond in this matter be immediately exonerated
10   and that the real property posted as collateral for the bond be reconveyed to Susan Huiner.
11
12                                               ORDER
13                  After having reviewed the above application, IT IS HEREBY ORDERED that the
14   Property Bond in the above-captioned case be exonerated and title to the real property be reconveyed
15   to Susan Huiner.
16   IT IS SO ORDERED.
17   Dated:     August 10, 2005                         /s/ Anthony W. Ishii
     0m8i78                                       UNITED STATES DISTRICT JUDGE
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